                             Case 1:24-mc-00048 Document 1 Filed 07/02/24 Page 1 of 1
                                  2074
                                               Department of the Treasury - Internal Revenue Service
Form 668 (Y)(c)
(Rev. February 2004)
                                                       Notice of Federal Tax Lien
Area:                                                           Serial Number                            For Optional Use by Recording Office
SMALL BUSINESS/SELF EMPLOYED AREA #7
Lien Unit Phone: (800) 913-6050                                                       495771924


 As provided by section 6321, 6322, and 6323 of the Internal Revenue                                        MC - 2 4 - 0 0 0 4 8
 Code, we are giving a notice that taxes (including interest and penalties)
 have been assessed against the following-named taxpayer. We have made
 a demand for payment of this liability, but it remains unpaid. Therefore,
 there is a lien in favor of the United States on all property and rights to                                                 FILED
 property belonging to this taxpayer for the amount of these taxes, and                                                          Clerk
 additional penalties, interest, and costs that may accrue.                                                                  District Court

Name of Taxpayer COMMONWEALTH OF THE NORTHERN
                         MARIANAS          ISLANDS         COMMONWEALTH               CASINO       C OMMISSION
                            a Corporation                                                                                   JUL - : 2024
Residence                   PO   BOX   5234
                                                                                                                       the Korthe     fwanana Islands
                            SAIPAN,      MP    96950                                                              by
                                                                                                                             (Ddpiriy Clerk)
   IMPORTANT RELEASE INFORMATION: For each assessment listed below,
   unless notice of the lien is refiled by the date given in column (e), this notice shall,
   on the day following such date, operate as        a certificate of release as defined
    in IRC 6325(a).

                        Tax Period                                        Date of             Last Day for                   Unpaid Balance
 Kind of Tax                Ending        Identifying Number            Assessment               Refiling                    of Assessment

        (a)                   (b)                 (c)                         (d)                  (e)                                (0
       941             12/31/2022             XX-XXX3006               11/06/2023             12/06/2033                         5863195.43




 Place of Filing
                                 US   DISTRICT COURT              OF    CNMI
                                 PO   BOX 500687                                                             Total      $           5863195.43

                                 Saipan,      MP 96950


                                                                  INTERNATIONAL,                PR                                            , on this.
 This notice was prepared and signed at


              17th                    June                2024
 the                     day of


                                                                              Title
 Signature                                                                                                                           27-10-3763
                                                                              REVENUE         OFFICER
 for     MARTIN         L    HUMPERT                                           (808)      303-6002
        (NOTE:    Certificate of officer authorized by law to take acknowledgment is not essential to the validity of Notice of Federal Tax lien
        Rev. Rul, 71-466, 1971 - 2 C.B. 409)                                                                         Form 668(Y)(c) (Rev. 2-2004)
                                                        Part I - Kept By Recording Office                                           CAT. NO 60025X
